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                EXHIBIT A
        GOVERNMENT’S PROPOSED VERDICT FORM
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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA                 )
                                          )
            v.                            )   Criminal No.: 19-10080-NMG
                                          )
 GAMAL ABDELAZIZ, et al.,                 )
                                          )
                                          )
                      Defendants          )


                                   VERDICT FORM

I.   WE THE JURY, AS TO DEFENDANT GAMAL ABDELAZIZ, UNANIMOUSLY
     FIND:

     A.    As to Count One, the charge of conspiracy to commit mail fraud (18 U.S.C.

           § 1349):

           ______ Not Guilty            ______ Guilty

     B.    As to Count One, the charge of conspiracy to commit wire fraud (18 U.S.C.

           § 1349):

           ______ Not Guilty            ______ Guilty

     C.    As to Count One, the charge of conspiracy to commit honest services mail fraud

           (18 U.S.C. § 1349):

           ______ Not Guilty            ______ Guilty

     D.    As to Count One, the charge of conspiracy to commit honest services wire fraud

           (18 U.S.C. § 1349):

           ______ Not Guilty            ______ Guilty

     E.    As to Count Two, the charge of conspiracy to commit federal programs bribery

           (18 U.S.C. § 371):

           ______ Not Guilty            ______ Guilty
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II.   WE THE JURY, AS TO DEFENDANT JOHN WILSON, UNANIMOUSLY FIND:

      A.   As to Count One, the charge of conspiracy to commit mail fraud (18 U.S.C.

           § 1349):

           ______ Not Guilty            ______ Guilty

      B.   As to Count One, the charge of conspiracy to commit wire fraud (18 U.S.C.

           § 1349):

           ______ Not Guilty            ______ Guilty

      C.   As to Count One, the charge of conspiracy to commit honest services mail fraud

           (18 U.S.C. § 1349):

           ______ Not Guilty            ______ Guilty

      D.   As to Count One, the charge of conspiracy to commit honest services wire fraud

           (18 U.S.C. § 1349):

           ______ Not Guilty            ______ Guilty

      E.   As to Count Two, the charge of conspiracy to commit federal programs bribery

           (18 U.S.C. § 371):

           ______ Not Guilty            ______ Guilty




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        F.   As to Counts Six, Eight, and Nine, on the charges of wire fraud (18 U.S.C.

             § 1343), honest services wire fraud (18 U.S.C. § 1346), and aiding and abetting

             (18 U.S.C. § 2):

Count           Description                                        Verdict

Six             $500,000 wire transfer to bank account in the      ______ Not Guilty
                name of KWF on or about October 17, 2018           ______ Guilty



Eight           Telephone call with William “Rick” Singer on       ______ Not Guilty
                or about October 27, 2018                          ______ Guilty




Nine            $500,000 wire transfer to bank account in the      ______ Not Guilty
                name of KWF on or about December 11, 2018          ______ Guilty


        G.   As to Counts Eleven and Twelve, on the charges of federal programs bribery (18

             U.S.C. § 666(a)(2)) and aiding and abetting (18 U.S.C. § 2):

Count           Description                                        Verdict

Eleven          $500,000 wire transfer to bank account in the      ______ Not Guilty
                name of KWF on or about October 17, 2018           ______ Guilty
                for the benefit of the sailing coach of Stanford
                University

Twelve          $500,000 wire transfer to bank account in the      ______ Not Guilty
                name of KWF on or about December 11, 2018          ______ Guilty
                for the benefit of a senior women’s
                administrator of Harvard University


        H.   As to Count Thirteen, the charge of filing a false tax return (26 U.S.C. § 7206(1)):

             ______ Not Guilty             ______ Guilty




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       Your deliberations are complete. The foreperson will sign the verdict form and notify the

Marshal in writing that the jury has reached a verdict, but do not reveal your verdict to the Marshal.

The jury will then be invited to the courtroom to return its verdict.



Dated: __________________                             Jury Foreperson: _____________________




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